
MORROW, P. J.
The offense is rape; punishment fixed at confinement in the penitentiary for a period of 5 years.
The prosecutrix, Jessie Davis, a girl 14 yeai's of age, and stepdaughter of the appellant, gave direct and positive testimony to the commission of the offense. The appellant denied it. There was testimony to circumstances from other witnesses introduced tending to support the theory of both the state and the appellant. We do not conceive the evidence of the prosecutrix and the state’s witnesses to present an alleged state of facts so incredible as to warrant the appellate court in overturning the verdict of the jury which has the sanction of the trial court.
Our examination of the court’s charge and the special "charges given at the request of the appellant leads us to the conclusion that the issues arising from the evidence were fairly presented to the jury.
There are no exceptions to either the charge of the court or its ruling upon the admission or rejection of evidence, or any other matter of procedure during the trial. Reliance for a reversal appears to be upon the motion for a new trial alone. In that document there are criticisms of the court’s ruling upon the admission and rejection of evidence, but none of these complaints are verified by bills of exceptions. ,
A review of the action of the court in receiving or rejecting testimony cannot be had, unless the matter is preserved and presented on appeal by bills of exceptions, as required by statute. 2 Vernon’s Tex. C. C. P. art. 667, p. 342.
The judgment is affirmed.
